     Case: 1:22-cv-01048 Document #: 46 Filed: 09/04/24 Page 1 of 1 PageID #:154

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Susan Phillips, et al.
                                       Plaintiff,
v.                                                         Case No.: 1:22−cv−01048
                                                           Honorable Andrea R. Wood
The United States of America
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 4, 2024:


         MINUTE entry before the Honorable Andrea R. Wood: Telephonic status hearing
held on 9/4/2024. Consistent with the Court's oral ruling on the record, Plaintiffs' motion
to lift or modify the stay [39] is denied. The Court continues the stay of this case. By
11/4/2024, the parties shall file a joint status report updating the Court on the status of the
related criminal matter and whether there is any new information that would warrant a
modification or lifting of the stay. The status report shall also state whether any party
desires a status hearing and, if so, what matters they would like to discuss with the Court.
Mailed notice (lma, )




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